Case 1:23-cv-08501-RPK-JRC Document 21-1 Filed 12/04/23 Page 1 of 11 PageID #: 94



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------ x
                                                         )
  L.B., individually and on behalf of her                )
  minor child Kyle, proceeding under a                   ) Civ. No. 1:23-cv-08501-RPK-JRC
  pseudonym,                                             )
                                                         )
                      Plaintiffs,                        )
                                                         )
                v.                                       )
                                                         )
  The City of New York; Jess Dannhauser, in )
  his official capacity as Commissioner,                 )
  Administration for Children’s Services of              )
  the City of New York (“ACS”); Ariel                    )
  Semper, Nadine Cenord, Bernadet Jean-                  )
  Louis, Donna McFadden, Ana Costa,                      )
  Taiesha Coleman, and Leydi Taveras, each )
  individually and in their official capacity as )
  ACS Child Protective Specialists,                      )
                                                         )
                      Defendants.                        )

  ------------------------------------------------------ X



                    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
                     MOTION FOR LEAVE TO PROCEED ANONYMOUSLY
Case 1:23-cv-08501-RPK-JRC Document 21-1 Filed 12/04/23 Page 2 of 11 PageID #: 95




                                                          TABLE OF CONTENTS


  ARGUMENT ................................................................................................................................................ 1

     I. FRCP 5.2(A)(3) REQUIRES PLAINTIFFS TO PROCEED ANONYMOUSLY TO PROTECT
     THE PRIVACY OF THE CHILD ............................................................................................................ 1

     II.    THE SEALED PLAINTIFF FACTORS STRONGLY FAVOR ANONYMITY.............................. 2

            A.. Factor One – Matters That Are Highly Sensitive And Of A Personal Nature…………………..3

            B. Factor Two – Risk Of Retaliation………………………………………………………………..4

            C. Factor Four – Vulnerability……………………………………………………………………...5

            D. Factor Five – Claims Against The Government…………………………………………………5

            E. Factor Six – Prejudice To The Defendant…………………………………………………….…6

            F. Factor Seven – Confidentiality So Far………………………………………………...…………6

            G. Factor Eight – No Public Interest In Disclosure………………………….……………………..7

  CONCLUSION ............................................................................................................................................. 7




                                                                               i
Case 1:23-cv-08501-RPK-JRC Document 21-1 Filed 12/04/23 Page 3 of 11 PageID #: 96



                                                          TABLE OF AUTHORITIES

                                                                                                                                                    Page(s)

  Cases

  Be v. Comcast Corp.,
      No. 20-CV-8571 (JPC), 2021 WL 694556 (S.D.N.Y. Feb. 23, 2021) ................................................... 2

  Doe No. 2 v. Kolko,
     242 F.R.D. 193 (E.D.N.Y. 2006)........................................................................................................ 4, 6

  Doe v. Del Rio,
     241 F.R.D. 154 (S.D.N.Y. 2006) ............................................................................................................ 4

  EW v. New York Blood Ctr.,
     213 F.R.D. 108 (E.D.N.Y. 2003)............................................................................................................ 5

  J.W. v. District of Columbia,
     318 F.R.D. 196 (D.D.C. 2016) ........................................................................................................... 1, 2

  P.M. v. Evans-Brant Cent. Sch. Dist.,
     No. 08-CV-168A, 2008 WL 4379490 (W.D.N.Y. Sept. 22, 2008) ................................................ 2, 5, 6

  Rapp v. Fowler,
     537 F. Supp. 3d 521 (S.D.N.Y. 2021) .................................................................................................... 4

  Roe v. Aware Woman Ctr. for Choice, Inc.,
     253 F.3d 678 (11th Cir. 2001) ................................................................................................................ 6

  S.F. v. Archer Daniels Midland Co.,
      594 F. App’x 11 (2d Cir. 2014) .............................................................................................................. 2

  Sealed Plaintiff v. Sealed Defendant,
      537 F.3d 185 (2d Cir. 2008) ....................................................................................................... 2, 3, 4, 5

  Smith v. Edwards,
     175 F.3d 99 (2d Cir. 1999) ..................................................................................................................... 2

  Statutes

  N.Y. Family Court Act § 166........................................................................................................................ 4

  Other Authorities

  Fed.R.Civ.P. 5.2 ........................................................................................................................................ 1. 2




                                                                                ii
Case 1:23-cv-08501-RPK-JRC Document 21-1 Filed 12/04/23 Page 4 of 11 PageID #: 97




           This action was brought by L.B., individually and on behalf of her ten-year-old child,

  seeking to proceed under the pseudonym “Kyle,” who have both had their constitutional rights

  violated by the City of New York, the Administration for Children’s Services (“ACS”), and its

  employees. As detailed in the Complaint [ECF No. 1], for almost three years, Defendants have

  aggressively investigated baseless allegations of child abuse against L.B., severely disrupting

  Plaintiffs’ family and school life, and causing severe and ongoing distress and anxiety.

           Allowing Plaintiffs to proceed anonymously in this action is necessary to protect the

  privacy of the minor child and highly sensitive and personal information of Plaintiffs, including

  allegations of sexual and physical child abuse, neglect, recording and sale of child pornography,

  possession of firearms, and drug use, all of which Defendants have investigated and determined

  to be false. Given the serious and sensitive nature of the allegations, Plaintiffs will suffer

  significant personal embarrassment and further psychological and emotional injury if forced to

  proceed in this litigation with their real names. Such personal harm outweighs any potential

  prejudice to Defendants. In any event, there is no prejudice to Defendants because Plaintiffs are

  known to Defendants.

                                           ARGUMENT

      I.      FRCP 5.2(A)(3) REQUIRES PLAINTIFFS TO PROCEED ANONYMOUSLY
              TO PROTECT THE PRIVACY OF THE CHILD

           Plaintiffs should proceed anonymously to protect the privacy of ten-year-old Kyle.

  Congress has recognized the heightened privacy interests of minor children, and directed that

  minors be identified in court filings only by initials. Fed. R. Civ. P. 5.2(a)(3) (“Unless the court

  orders otherwise, in an electronic or paper filing with the court that contains . . . the name of an

  individual known to be a minor . . . a party or nonparty making the filing may include only . . . .

  the minor’s initials”).


                                                    1
Case 1:23-cv-08501-RPK-JRC Document 21-1 Filed 12/04/23 Page 5 of 11 PageID #: 98




            Further, because a child and “his parents’ privacy interests are intractably intertwined,”

  J.W. v. District of Columbia, 318 F.R.D. 196, 199 (D.D.C. 2016), and “a parent’s identity, if

  disclosed, could jeopardize the child’s confidentiality,” id., courts have authorized parents and

  guardians suing on behalf of minors to proceed anonymously to protect the children’s identities.

  See S.F. v. Archer Daniels Midland Co., 594 F. App’x 11, 12, n.1 (2d Cir. 2014) (“Fed.R.Civ.P.

  5.2(a) dictates that only a minor’s initials should be used in publicly filed documents, and this

  rule extends to the child’s parents”); Be v. Comcast Corp., No. 20-CV-8571 (JPC), 2021 WL

  694556, at *1 (S.D.N.Y. Feb. 23, 2021) (allowing a parent to proceed under pseudonym in an

  action concerning her minor child’s health); P.M. v. Evans-Brant Cent. Sch. Dist., No. 08-CV-

  168A, 2008 WL 4379490, at *3 (W.D.N.Y. Sept. 22, 2008) (“the protection afforded to the

  minor would be eviscerated unless the parent was also permitted to proceed using initials”); see

  also Smith v. Edwards, 175 F.3d 99, 99 n.1 (2d Cir. 1999) (in a case involving an allegation of

  child abuse by plaintiff, employing pseudonyms for plaintiff and his family to protect the privacy

  of plaintiff’s child).

            Here, identifying L.B. by her name will inevitably lead to the identification of her only

  minor child, Kyle. Accordingly, the Court should allow both Plaintiffs to proceed anonymously.

      II.      THE SEALED PLAINTIFF FACTORS STRONGLY FAVOR ANONYMITY

            In the Second Circuit, “when determining whether a plaintiff may be allowed to maintain

  an action under a pseudonym, the plaintiff’s interest in anonymity must be balanced against both

  the public interest in disclosure and any prejudice to the defendant.” Sealed Plaintiff v. Sealed

  Defendant, 537 F.3d 185, 189 (2d Cir. 2008). The Court of Appeals for the Second Circuit has

  identified ten non-exhaustive factors to be considered:

            (1) whether the litigation involves matters that are highly sensitive and of a
            personal nature;


                                                      2
Case 1:23-cv-08501-RPK-JRC Document 21-1 Filed 12/04/23 Page 6 of 11 PageID #: 99




         (2) whether identification poses a risk of retaliatory physical or mental harm to
         the party seeking to proceed anonymously or even more critically, to innocent
         non-parties;

         (3) whether identification presents other harms and the likely severity of those
         harms, including whether the injury litigated against would be incurred as a result
         of the disclosure of the plaintiff’s identity;

         (4) whether the plaintiff is particularly vulnerable to the possible harms of
         disclosure, particularly in light of his age;

         (5) whether the suit is challenging the actions of the government or that of private
         parties;

         (6) whether the defendant is prejudiced by allowing the plaintiff to press his
         claims anonymously, whether the nature of that prejudice (if any) differs at any
         particular stage of the litigation, and whether any prejudice can be mitigated by
         the district court;

         (7) whether the plaintiff’s identity has thus far been kept confidential;

         (8) whether the public’s interest in the litigation is furthered by requiring the
         plaintiff to disclose his identity;

         (9) whether, because of the purely legal nature of the issues presented or
         otherwise, there is an atypically weak public interest in knowing the litigants'
         identities; and

         (10) whether there are any alternative mechanisms for protecting the
         confidentiality of the plaintiff.

  Sealed Plaintiff, 537 F.3d at 189-90 (internal citations, quotations, and alterations omitted).

  Courts are not required to “list each of the factors or use any particular formulation as long as it

  is clear that the court balanced the interests at stake in reaching its conclusion.” Id. at 191 n.4.

         The application of these factors supports Plaintiffs’ request to proceed anonymously.

         A.      Factor One – Matters That Are Highly Sensitive And Of A Personal Nature

         As described above, this litigation “involves matters that are highly sensitive and of a

  personal nature,” Sealed Plaintiff, 537 F.3d at 190, including false allegations of child physical

  and sexual abuse, and mental health diagnosis of the child Plaintiff. Even where such allegations



                                                    3
Case 1:23-cv-08501-RPK-JRC Document 21-1 Filed 12/04/23 Page 7 of 11 PageID #: 100




  are made by plaintiffs themselves, “[a]llegations of sexual assault are ‘paradigmatic example[s]’

  of highly sensitive and personal claims and thus favor a plaintiff’s use of a pseudonym.” Rapp v.

  Fowler, 537 F. Supp. 3d 521, 528 (S.D.N.Y. 2021) (quoting Doe No. 2 v. Kolko, 242 F.R.D. 193,

  196 (E.D.N.Y. 2006)).

         Here, as detailed in Plaintiffs’ Complaint, Defendants investigated baseless allegations of

  child abuse against Plaintiff L.B., including allegations that L.B. hit her children; burned them

  with cigarettes; forced them to be sexually abused by her partner; recorded the sexual abuse on

  video, and sold them; sold her daughters to other adults for sex; owned machine guns; and used

  crack cocaine and heroin in front of her children, among others. Compl. ¶¶ 40, 106. Defendants

  investigated and determined that each allegation was false. Id. ¶¶ 67, 77, 104, 137, 151, 171,

  181, 193. Moreover, at issue in this case is the emotional and psychological harm Defendants

  caused minor Plaintiff, Kyle, including mental health diagnoses. See, e.g., Id. ¶¶ 177, 195-99.

         In recognition of the highly sensitive nature of the information at issue, the records of

  related proceedings between the parties in New York Family Court have also been protected

  from public inspection. N.Y. Family Court Act § 166. The first factor favors anonymity.

         B.      Factor Two – Risk Of Retaliation

         Identification of Plaintiffs poses a real risk of retaliation. Sealed Plaintiff, 537 F.3d at

  190. To warrant anonymity, the possible retaliatory harm need not be physical in nature. Doe v.

  Del Rio, 241 F.R.D. 154, 158 (S.D.N.Y. 2006) (“[t]he risk of injury may be physical or

  psychological”). Here, disclosure of Plaintiffs’ identity could lead to retaliation from local

  police, employers, school personnel, classmates, neighbors, and the public at large. L.B. was

  already suspended and ultimately terminated from her former employment as a result of the ACS

  investigations, and was forced to look for new work. Compl. ¶ 194. Potential employers were



                                                    4
Case 1:23-cv-08501-RPK-JRC Document 21-1 Filed 12/04/23 Page 8 of 11 PageID #: 101




  also notified of the investigations, making her job search difficult. Id. Plaintiffs’ neighbors and

  landlord also complained that they were being harassed in connection with the investigations. Id.

  ¶ 201. Identification of L.B. as someone who has been the subject of repeated ACS

  investigations, regardless of the outcome, and who has now filed a civil lawsuit against them,

  may further stigmatize and harm Plaintiffs. Non-parties, including Plaintiffs’ other children and

  family, may also be harmed. The second factor favors anonymity.

            C.      Factor Four – Vulnerability

            Given Kyle’s young age and the intertwined nature of L.B. and Kyle’s interests, Plaintiffs

  are “particularly vulnerable to the possible harms of disclosure.” Sealed Plaintiff, 537 F.3d at

  190; see also P.M. v. Evans-Brant Cent. Sch. Dist., No. 08-CV-168A, 2008 WL 4379490, at *3

  (W.D.N.Y. Sept. 22, 2008) (“[T]he protection afforded to the minor would be eviscerated unless

  the parent was also permitted to proceed using initials.”). Furthermore, as a result of

  Defendants’ aggressive pursuit of Kyle at home and at his school, Kyle has been diagnosed with

  anxiety, become fearful of attending school, and has manifested trouble sleeping at night.

  Compl. ¶¶ 177, 195-99. No further harm can be tolerated. The fourth factor favors anonymity.

            D.      Factor Five – Claims Against The Government

            The fact that this litigation is brought against New York City and ACS, a public agency,

  and its employees, favors anonymity of Plaintiffs. Sealed Plaintiff, 537 F.3d at 190. This is

  particularly the case where, as here, the action seeks the vindication of Plaintiffs’ constitutional

  rights.

            “[W]here a plaintiff attacks governmental activity . . . the plaintiff’s interest in
            proceeding anonymously is considered particularly strong. In such circumstances
            the plaintiff presumably represents a minority interest (and may be subject to
            stigmatization), and there is arguably a public interest in a vindication of his rights.
            In addition, the government is viewed as having a less significant interest in


                                                       5
Case 1:23-cv-08501-RPK-JRC Document 21-1 Filed 12/04/23 Page 9 of 11 PageID #: 102




         protecting its reputation from damaging allegations than the ordinary individual
         defendant.”

  EW v. New York Blood Ctr., 213 F.R.D. 108, 111 (E.D.N.Y. 2003) (citation omitted). The fifth

  factor favors anonymity.

         E.      Factor Six – Prejudice To The Defendant

         Defendant’s ability to defend this action will not be impaired by permitting Plaintiffs to

  proceed anonymously because Plaintiffs’ identities are already known to Defendants.

         Courts are particularly willing to allow the plaintiffs to proceed anonymously where, as

  here, the plaintiffs’ identities are known to the defendants. See, e.g., Roe v. Aware Woman Ctr.

  for Choice, Inc., 253 F.3d 678, 687 (11th Cir. 2001) (finding no prejudice where plaintiff offered

  to disclose her name to defendants for discovery purposes); P.M. v. Evans-Brant Cent. Sch. Dist.,

  No. 08-CV-168A, 2008 WL 4379490, at *3 (W.D.N.Y. Sept. 22, 2008) (no prejudice where

  defendant was aware of plaintiffs’ identifies through administrative proceedings giving rise to

  the lawsuit); Doe No. 2 v. Kolko, 242 F.R.D. 193, 198 (E.D.N.Y. 2006) (“Other than the need to

  make redactions and take measures not to disclose plaintiff’s identity, defendants will not be

  hampered or inconvenienced merely by plaintiff's anonymity in court papers.”). Here,

  Defendants have known and closely interacted with Plaintiffs at Plaintiffs’ home and school, for

  almost three years, see generally Compl., and as such will not prejudiced by plaintiffs’

  anonymity. The sixth factor favors anonymity.

         F.      Factor Seven – Confidentiality So Far

         Plaintiffs’ identity has thus far been kept confidential from the public, in this action and

  in related proceedings in Family Court, as described above. See N.Y. Family Court Act § 166.

  Although Defendants’ repeated visits to Plaintiffs’ home and school have alerted Plaintiffs’

  neighbors, landlord, and school staff to the existence of ACS investigations against L.B., the

                                                   6
Case 1:23-cv-08501-RPK-JRC Document 21-1 Filed 12/04/23 Page 10 of 11 PageID #: 103




   details of the allegations have never been made public. The seventh factor favors anonymity.

           G.      Factor Eight – No Public Interest In Disclosure

           Beyond a general societal interest in open access to judicial proceedings, there is no

   public interest in disclosing Plaintiffs’ identities in this case. To the contrary, requiring

   disclosure in this case would have the effect of chilling other similarly situated families from

   seeking judicial relief for violations of their constitutional rights, for fear of having false

   accusations of child abuse made public. The eighth factor favors anonymity.

                                            CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request that the Court grant their Motion

   for Leave to Proceed Anonymously.

                                                   Respectfully submitted,

                                                   CROWELL & MORING LLP
   Dated: December 4, 2023
   New York, New York
                                           By:      /s/ Robert A. Mantel
                                                   Joshua Sohn
                                                   Robert A. Mantel
                                                   Daniella A. Schmidt
                                                   Hinako Gojima
                                                   590 Madison Ave., 20th Floor,
                                                   New York, NY 10022
                                                   Tel: (212)590-5442
                                                   jsohn@crowell.com
                                                   rmantel@crowell.com
                                                   dschmidt@crowell.com
                                                   hgojima@crowell.com

                                                   BROOKLYN DEFENDER SERVICES
                                                   Jessica Marcus
                                                   Lauren Shapiro
                                                   S. Lucas Marquez
                                                   Kevin Siegel
                                                   177 Livingston St, 7th Floor
                                                   Brooklyn, NY 11201
                                                   Tel: (347) 592-2518

                                                      7
Case 1:23-cv-08501-RPK-JRC Document 21-1 Filed 12/04/23 Page 11 of 11 PageID #: 104




                                      jmarcus@bds.org
                                      lshapiro@bds.org
                                      slmarquez@bds.org
                                      ksiegel@bds.org

                                      Attorneys for Plaintiffs




                                         8
